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lN THE uNlTED sTATEs DisTRlcT couRT F"£“D B‘r f 1 D.c.

FOR THE WESTERN D|STR|CT OF TENNESSEE

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UN|TED STATES OF AMER|CA,

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Plaintiff, *
vs. * Crimina| No. 04-20076-!3 An
|VllCHAEL CL|NE, *

Defendant. *

 

PREL|MINARY ORDER OF FORFEITURE

 

|n indictment NumberO4-20076-B An, the United States sought forfeiture ofspecific
property of defendant l\/lichael C|ine, pursuant to 18 U.S.C. §§ 2251 and 2252. On August
4, 2004, the defendant, |V|ichael Cline, entered a plea of guilty to Counts 1, 2 and the
forfeiture in Count 3 of the indictment
According|y, it is ORDERED:

1. Based upon the defendants guilty plea to Counts 1, 2 and the forfeiture in
Count 3 of the lndictment NumberO4-20076-B An, the United States is authorized to seize
the following property belonging to defendant |V|ichae| C|ine, and his interest in it is hereby
forfeited to the United States for disposition in accordance With the |aW, subject to the
provisions of 21 U.S.C. §853(n) and Ru|e 32(d)(2) of the Federal Rules of Crimina|
Procedure:

a. Any visual depiction described in Section 2252 of Tit|e 18 United
States Code, and any book, magazine, periodica|, firm, videotape, and other matter Which

contains any such visual depiction, Which was produced, transported, mailed, shipped, or

This docu.'nent entered on the docket§teel' in nornpila.'zoe _.-'
with Hule 55 and/cr 32(b) FHCrF on `IL_U

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received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross
profits or other proceeds obtained from the above said offenses; and

c. Any property, real or personai, used or intended to be used to commit
or to promote the commission of the above said offenses, including but not limited to the
following:

1) One (1) LiON L| GENER|C
CLONE CO|\/|PUTER;

2) one (1) soNY viDEo cAileRA
rvlo-1 ch-JRv12.

Ali pursuant to Title 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States l\/larshal in his
secure custody, or, as may be necessary, the Attorney General may appoint a substitute
custodian.

3. Pursuant to 21 U.S.C. §853(n)(1), the United States |V|arshal shall publish at
least once a week for three successive weeks in a newspaper of general circulation in
Shelby County, Tennessee, notice of this order, notice of the United States’ intent to
dispose ofthe property in such manner as the Attorney General or his delegate may direct,
and notice that any person, other than the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must file a petition with the court within thirty
(30) days ofthe final publication of notice or of receipt of actual notice, whichever is earlier.
'l'hls notice shall state that the petition shall be for a hearing to adjudicate the validity of the
petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioners right, title or interest

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in each of the forfeited properties and any additional facts supporting the petitioner’s claim
and the relief soughtl The United States Marshai or his delegate may use the attached
Legal Notice.

The United States may aiso, to the extent practicab|e, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Order of Forfeiturer as a substitute for published notice as to those persons so
noHHed.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preiiminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgmentl

5. if no third party files a timely claim, this Order shall become the Final Order
of l:orfeiturer as provided by Fed. R. Crim. P. 32.2(c)(2).

6. The United States shall have cleartitle to the Subject Property following the
Court’s disposition of ali third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), Which is incorporated by 18U.S.C. §982(b) and
28 U.S.C. §2461(0), for the filing of third party petitions

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as
necessary, pursuant to Fed. R. Crim. P. 32.2(e).

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.D NiEL BREEN \
Unit d States District Judge

 

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PRESENTED BY:

TERRELL L. l-iARRlS
United States Attorney

/`/%W/

ci=reisToPHER E. coTTEN
Assistant United States Attorney

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lN THE UN|TED STATES D|STRlCT COURT
FOR THE VVESTERN D|STR|CT OF TENNESSEE
VVESTERN D|V|SION

20-

UN|TED STATES OF A|VlER|CA,

Piaintiff, *
vs. * Criminal No. O4-20076-B An
i\/ilCl-lAEL CLlNE, *

Defendant. *

 

LEGAL NOT|CE

 

Take notice that on , the United States District Court forthe

 

Western District of Tennessee, VVestern Division, entered a Preliminary Order of Forfeiture
ordering that all right, title and interest of the defendant i\/iichaei Cline in the following
property be forfeited to the United States to be disposed of in accordance with law:

a. Any visual depiction described in Section 2252 of Title 18 United States
Code, and any book, magazine, periodical, firm, videotape, and other matter Which
contains any such visual depiction, which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit or to

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promote the commission of the above said offenses, including but not limited to the
foilowing:

1) one (1) LioN Li GENERic
ci_oNE coiviPuTER;

2) One (1) SONY ViDEO CA|\/iERA
iViD-1 CCD-JRV12.

All pursuant to Title 18, United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney
Generai or his delegate may direct. Any person, other than the defendant, having or
claiming a legal interest in the above-listed forfeited property must file a petition with the
Court within thirty (30) days of the final publication of this notice or of receipt of actual
notice, whichever is earlier The petition shall be for a hearing to adjudicate the validity of
the petitioners alleged interest in the property, shall be signed by the petitioner under
penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, titie, or
interest in each of the forfeited properties and any additional facts supporting the

petitioners claim and relief sought.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:04-CR-20076 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

Dan Nevvsom

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Memphis7 TN 38103

J. Patten BroWn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

